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STATE OF CALIFORNIA DEPARTMENT GF CORRECTIONS AND REHABILITATION

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CDCR 22 (10/09) th +
SECTION A: INMATE/PAROLEE REQUEST OO} (ON

NAME (Print): (LAST NAME) (FIRST NAME) CDC NUMBER: SIGNATURE:
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ee ap ASSIGNMENT: . TOPICNEET MAIL, CONDITION OF CONFINEMENT/PAROLE, ETC.):
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METHOD OF DELIVERY (CHECK APPROPRIATE BOX) **NO RECEIPT WILL BE PROVIDED IF REQUEST IS MAILED **

 

 

 

 

 

 

[] SENT THROUGH MAIL: ADDRESSED TO: DATE MAILED: / i
() DELIVERED TO STAFF (STAFF TO COMPLETE BOX BELOW AND GIVE GOLDENROD COPY TO INMATE/PAROLEE):
RECEIVED BY: PRINT STAFF NAME: DATE: SIGNATURE: FORWARDED TO ANOTHER STAFF?
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lF FORWARDED ~ TO wuom: DATE DELIVERED/MAILED: METHOD OF DELIVERY:
van \ CG Coke \ ov =< ~~ ? —| Ce (CIRCLE ONE) INPERSON BYUS MAIL

 

SECTION B: STAFF RESPONSE

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SECTION C: REQUEST FOR SUPERVISOR REVIEW AY#AD Lez

PROVIDE REASON WHY YOU DISAGREE WITH STAFF RESPONSE AND FORWARD TO RESPONDENT'S SUPERVISOR IN PERSON OR BY US MAIL. KEEP FINAL CANARY
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SIGNATURE: : DATE SUBMITTED:

 

SECTION D: SUPERVISOR’S REVIEW

RECEIVED BY SUPERVISOR (NAME): DATE: SIGNATURE: DATE RETURNED:

 

 

 

 

 

 

 

 

 

 

 

 

 

Distribution: Original - Return to Inmate/Parolee; Canary - Inmate/Parolee's 2nd Copy; Pink - Staff Members Copy; Goldenrod - Inmate/Parolee's (st Copy.
 

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STATE OF CALIFORNIA DEPARTMENT OF CORRECTIONS AND REHABILITATION
INMATE/PAROLEE REQUEST FOR INTERVIEW, ITEM OR SERVICE
CDCR 22 (10/09)
SECTION A: INMATE/PAROLEE REQUEST
NAME (Print): (LAST NAME) Ase NAME) CDC NUMBER: |
HOUSING/BED NUMBER: ASSIGNMENT: TOPIC ({t.E. ae OF CONFINEMENT/PAROLE, ETC.):
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CLEARLY STATE THE SERVICE OR ITEM REQUESTED OR REASON FOR INTERVIEW:

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METHOD OF DELIVERY (CHECK APPROPRIATE BOX) **NO RECEIPT WILL BE PROVIDED IF REQUEST IS MAILED **
SENT THROUGH MAIL: ADDRESSED TO: LA ye DATE MAILED: % ‘Ls \b
(J DELIVERED TO STAFF (STAFF TO COMPLETE BOX BELOW AND GIVE GOLDENROD COPY TO INMATE/PAROLEE):

 

 

 

 

RECEIVED BY: PRINT STAFF NAME: DATE: SIGNATURE: FORWARDED TO ANOTHER STAFF?
(CIRCLE ONE) YES NO
IF FORWARDED ~ TO WHOM: DATE DELIVERED/MAILED: METHOD OF DELIVERY:

 

(CIRCLE ONE) iN PERSON BY US MAIL

 

SECTION B: STAFF RESPONSE

RESPONDING STAFF NAME: DATE: SIGNATURE: DATE RETURNED:

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SECTION C: REQUEST FOR SUPERVISOR REVIEW

PROVIDE REASON WHY YOU DISAGREE WITH STAFF RESPONSE AND FORWARD TO RESPONDENT'S SUPERVISOR IN PERSON OR BY US MAIL. KEEP FINAL CANARY
COPY.

 

 

 

 

 

SIGNATURE: DATE SUBMITTED:

 

SECTION D: SUPERVISOR'S REVIEW

RECEIVED BY SUPERVISOR (NAME): DATE: SIGNATURE: DATE RETURNED:

 

 

 

 

 

 

 

 

 

 

 

 

 

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Distribution: Original - Return to Inmate/Parolee; Canary - Inmate/Parolee's 2nd Copy; ¥ink - Staff Members Copy; Goldenrod - Inmate/Parolee's 1st Copy.
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P.O. Box _\S0i

Tehachapi, CA 93581

CALIFORNIA DEPARTMENT OF CORRECTIONS AND
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